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                                                                         8                                   UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                                  No. 13-MD-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                           ORDER ON JOINT DISCOVERY
                                                                                       LITHIUM ION BATTERIES                          LETTER [DOCKET NO. 644]
                                                                         13            ANTITRUST LITIGATION
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                                                                         15   ___________________________________/
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                                                                         17            Plaintiffs and Defendant LG Chem, Ltd. (“LG Chem”) filed a joint letter brief regarding a
                                                                         18   dispute about the sufficiency of LG Chem’s response to an interrogatory. [Docket No. 644 (Joint
                                                                         19   Letter).] The court held a hearing on March 12, 2015. Having considered the parties’ arguments
                                                                         20   and for the reasons stated at the hearing and set forth below, the court enters the following order.
                                                                         21                                               I. Background
                                                                         22   A.       LG Chem’s Guilty Plea
                                                                         23            On July 18, 2013, the United States Department of Justice (“DOJ”) charged LG Chem with
                                                                         24   violating Section 1 of the Sherman Act, 15 U.S.C. § 1, by engaging in a criminal conspiracy to fix
                                                                         25   the prices of cylindrical lithium ion battery cells sold in the United States and elsewhere for use in
                                                                         26   notebook computer battery packs. (Joint Letter 1; United States v. LG Chem, Ltd., No. 13-cr-0473
                                                                         27   YGR (N.D. Cal. July 18, 2013) Information (Docket No. 1).) LG Chem entered into a plea
                                                                         28   agreement in September 2013, which was signed by Heung Ryul Yoon, Vice President/Legal
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                                                                         1    Department, and ratified by LG Chem’s Board of Directors. (United States v. LG Chem, Ltd., No.
                                                                         2    13-cr-0473 YGR, Plea Agreement at 14, 16 (Docket No. 13-1).) In its plea agreement, LG Chem
                                                                         3    stated that it would plead guilty to the conspiracy described in the Information and that it would
                                                                         4    “make a factual admission of guilt to the Court in accordance with Fed. R. Crim. P. 11, as set forth
                                                                         5    in Paragraph 4 below.” (Plea Agreement 2-3.) In relevant part, Paragraph 4 of the plea agreement
                                                                         6    stated
                                                                         7             [h]ad this case gone to trial, the United States would have presented evidence
                                                                                       sufficient to prove [that] . . . [d]uring the relevant period,1 the defendant, through its
                                                                         8             employees, including high-level personnel of the defendant, participated in a
                                                                                       conspiracy with other persons and entities engaged in the manufacture and sale of
                                                                         9             cylindrical lithium ion battery cells, the primary purpose of which was to fix the
                                                                                       prices of cylindrical lithium ion battery cells sold in the United States and
                                                                         10            elsewhere for use in notebook computer battery packs. In furtherance of the
                                                                                       conspiracy, the defendant, through its employees, engaged in discussions and
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                                                                         11            attended meetings with representatives of competitors. During these discussions
                                                                                       and meetings, agreements were reached to fix the prices of cylindrical lithium ion
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                                                                         12            battery cells sold in the United States and elsewhere for use in notebook computer
                                                                                       battery packs.
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                                                                              (Plea Agreement 3 (§ 4(c)).)
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                                                                                       At the plea hearing, the Honorable Yvonne Gonzalez Rogers questioned LG Chem’s
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                                                                              representative, Mr. Yoon, to determine whether there was a “sufficient independent factual basis for
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                                                                              the plea.” (United States v. LG Chem, Ltd., No. 13-cr-0473 YGR, Hr’g Tr., Oct. 10, 2013, at 22
                                                                         17
                                                                              (Docket No. 35).) See Fed. R. Crim. P. 11(b)(3) (“[b]efore entering judgment on a guilty plea, the
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                                                                              court must determine that there is a factual basis for the plea.”). After the Assistant United States
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                                                                              Attorney described the charged conspiracy, the court asked Yoon whether it was “true that high-
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                                                                              level personnel of LG Chem did participate in a conspiracy that [counsel] identified[.]” Yoon, who
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                                                                              was under oath, responded “yes.” When the court asked him to identify “approximately how many
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                                                                              discussions or meetings occurred,” he testified that officers within LG Chem’s battery division
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                                                                              participated in “about 20 or 30” discussions or meetings. (Hr’g Tr. at 23-24.) Later, Yoon stated
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                                                                              that he did not dispute any of the remaining details of the charged conspiracy described by the
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                                                                              Assistant United States Attorney. (Hr’g Tr. 24-27.)
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                                                                         28          The plea agreement defined the “relevant period” as that period from about April 2007 to about
                                                                              September 2008. (Plea Agreement 3 (§ 4(a)).)

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                                                                         1            Judge Gonzalez Rogers sentenced LG Chem on October 10, 2013 and ordered it to pay a fine
                                                                         2    of $1,056,000, as well as a $400 special assessment. The court did not order LG Chem to pay
                                                                         3    restitution, finding that it would be “more appropriate to resolve issues of restitution” in this civil
                                                                         4    case. (Hr’g Tr. 30-31.)
                                                                         5    B.      Plaintiffs’ Interrogatory to LG Chem
                                                                         6            On October 31, 2014, Plaintiffs propounded the following interrogatory to LG Chem: “With
                                                                         7    respect to Your Guilty Plea, state all facts which support it, identify the Persons with whom You
                                                                         8    conspired and/or entered unlawful agreements, and identify Persons with knowledge of Your Guilty
                                                                         9    Plea.” (Joint Letter Ex. A part 1). LG Chem responded in relevant part as follows:
                                                                         10           LG Chem pled guilty to one count of price fixing under Section 1 of the Sherman
                                                                                      Act relating to cylindrical lithium ion battery cells sold for use in notebook
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                                                                         11           computer battery packs during the period of approximately April 2007 to
                                                                                      September 2008. LG Chem made that guilty plea at an October 10, 2013, hearing
                               For the Northern District of California




                                                                         12           in the Criminal Proceeding, during which the facts that supported its plea were
                                                                                      presented in open court. LG Chem refers to the transcript of that hearing.
                                                                         13
                                                                                      Although no co-conspirator was identified in support of the guilty plea and
                                                                         14           although LG Chem’s investigation was and is continuing, LG Chem has identified
                                                                                      Samsung SDI as a likely co-conspirator with respect to the price fixing to which it
                                                                         15           pled guilty.
                                                                         16   (Joint Letter Ex. A part 2.) In its answer, LG Chem also identified seven documents that it had
                                                                         17   produced to the Department of Justice prior to its guilty plea, and stated that the documents “relate to
                                                                         18   conduct underlying” its guilty plea.
                                                                         19            Plaintiffs now move to compel LG Chem to supplement its response to the interrogatory on
                                                                         20   the grounds that its response is evasive and incomplete.
                                                                         21                                              II. Legal Standard
                                                                         22           When served with interrogatories, the responding party must serve its answers and any
                                                                         23   objections within 30 days. Fed. R. Civ. P. 33(b)(2). “Each interrogatory must, to the extent it is not
                                                                         24   objected to, be answered separately and fully in writing under oath.” Fed. R. Civ. P. 33(b)(3)
                                                                         25   (emphasis added). An answer to an interrogatory should be complete in itself and should not refer to
                                                                         26   the pleadings or other documents:
                                                                         27           [A]n answer to an interrogatory must be responsive to the question. It should be
                                                                                      complete in itself and should not refer to the pleadings, or to depositions or other
                                                                         28           documents, or to other interrogatories, at least where such references make it


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                                                                         1           impossible to determine whether an adequate answer has been given without an
                                                                                     elaborate comparison of answers.
                                                                         2
                                                                         3    Scaife v. Boenne, 191 F.R.D. 590, 594 (N.D. Ind.2000) (citations and quotation marks omitted).
                                                                         4    “‘Incorporation by reference is not a responsive answer.’” Id. (quoting Cont’l Ill. Nat. Bank & Trust
                                                                         5    Co. of Chicago v. Caton, 136 F.R.D. 682, 686 (D. Kan. 1991)). However, if an answer to an
                                                                         6    interrogatory may be determined by “examining, auditing, compiling, abstracting, or summarizing a
                                                                         7    party’s business records . . . , and if the burden of deriving or ascertaining the answer will be
                                                                         8    substantially the same for either party, the responding party may answer by . . . specifying the records
                                                                         9    that must be reviewed.” Fed. R. Civ. P. 33(d).
                                                                         10                                                III. Discussion
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                                                                         11          Plaintiffs argue that their interrogatory requested details about the facts underlying LG
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                                                                         12   Chem’s guilty plea, including the identification of LG Chem’s co-conspirators and LG Chem
                                                                         13   employees who participated. They contend that “LG Chem must have satisfied itself that the DOJ
                                                                         14   could in fact prove all elements of a criminal violation of the Sherman Act beyond a reasonable
                                                                         15   doubt”; therefore, it must possess information responsive to the interrogatory. (Joint Letter 3.)
                                                                         16   Plaintiffs assert that LG Chem’s response is deficient for two reasons: 1) it fails to answer the
                                                                         17   interrogatory fully by failing to provide “all facts” that support the guilty plea, such as times, dates,
                                                                         18   participants, and co-conspirators; and 2) in lieu of setting forth a narrative response, it improperly
                                                                         19   refers to documents produced in the litigation and to the plea hearing transcript.
                                                                         20          In response, LG Chem first contends that its response was complete, because “the facts that
                                                                         21   ‘support’ the plea were set forth in full during the October 2013 plea hearing” before Judge Gonzalez
                                                                         22   Rogers. (Joint Letter 5.) LG Chem argues that the admitted allegations addressed 1) LG Chem’s
                                                                         23   corporate organization; 2) its involvement in the sale of the battery cells at issue in the information;
                                                                         24   3) the dollar value of sales of those cells affecting U.S. commerce from April 2007 to September
                                                                         25   2008 ($3.3 million); 4) the involvement of high-level LG Chem officers in a conspiracy during that
                                                                         26   time period to fix prices of cells sold in the U.S.; and 5) the sales by one or more coconspirators of
                                                                         27   such cells and battery packs to customers in this District. (Joint Letter 6.) According to LG Chem,
                                                                         28   the “facts presented at the hearing supplied the required basis to justify the guilty plea, which Judge


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                                                                         1    Gonzalez Rogers accepted,” and it asserts that “[t]here simply are no other facts that ‘supported’ the
                                                                         2    plea.” (Joint Letter 6.) LG Chem argues that, as written, Plaintiffs’ interrogatory essentially seeks to
                                                                         3    discover all of the information that LG Chem considered with its attorneys when deciding whether or
                                                                         4    not to plead guilty in 2013. As such, the interrogatory calls for attorney work product as well as
                                                                         5    privileged attorney-client communications. LG Chem further asserts that it is producing voluminous
                                                                         6    discovery in this litigation, and that Plaintiffs’ interrogatory is aimed at avoiding the work of
                                                                         7    reviewing this discovery by instead seeking the results of confidential material and communications
                                                                         8    generated in connection with the DOJ’s investigation.
                                                                         9            As drafted, Plaintiffs’ interrogatory is ambiguous. It seeks identification of “all facts which
                                                                         10   support [Your Guilty Plea].” It could be interpreted as calling for all facts that LG Chem’s counsel
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                                                                         11   considered in determining whether its client should enter into a plea agreement rather than proceed to
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                                                                         12   trial on the criminal conspiracy charges. Therefore, LG Chem’s more narrow interpretation of the
                                                                         13   interrogatory as asking for the facts supporting the plea as set forth in the plea agreement and at the
                                                                         14   plea hearing is not unreasonable.
                                                                         15          However, this conclusion does not mean that LG Chem’s response was sufficient. First, it is
                                                                         16   improper to refer to documents produced in this litigation or to a transcript in responding to an
                                                                         17   interrogatory. See Hash v. Cate, No. C 08-03729 MMC (DMR), 2012 WL 6043966, at *3 (N.D. Cal.
                                                                         18   Dec. 5, 2012) (“interrogatory responses . . . must contain facts, and the party responding must verify
                                                                         19   that those facts are true and correct to the best of his knowledge”); Mahoney v. Kempton, 142 F.R.D.
                                                                         20   32, 33 (D. Mass. 1992) (holding that it was “totally improper” for party to designate its testimony at
                                                                         21   prior trial in response to interrogatories). Therefore, LG Chem must amend its response to state “all
                                                                         22   facts” which support its guilty plea; i.e., both the facts it admitted in its plea agreement and those
                                                                         23   admitted at the plea hearing. The amended response must also include the specific facts underlying
                                                                         24   Mr. Yoon’s testimony during the plea colloquy. In response to Judge Gonzales Rogers’ specific
                                                                         25   questioning, Mr. Yoon stated that officers within LG Chem’s battery division participated in “about
                                                                         26   20 or 30” discussions or meetings pertaining to the conspiracy. As to those specific discussions or
                                                                         27   meetings, LG Chem must identify when and where they took place; which individuals were present,
                                                                         28   including the companies they represented and their job titles; and the subjects discussed by the


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                                                                         1    participants. With respect to the seven documents identified by LG Chem as “relate[d] to conduct
                                                                         2    underlying” its guilty plea, it is not clear how these documents are responsive to the interrogatory.
                                                                         3    Therefore, LG Chem must supplement its response to provide clear, detailed statements of the
                                                                         4    responsive information it believes is contained in the documents, rather than merely referring to their
                                                                         5    existence.
                                                                         6            Plaintiffs also argue that LG Chem’s selective identification of Samsung SDI as a “likely co-
                                                                         7    conspirator,” as well as its reference to the seven documents (all emails), result in subject matter
                                                                         8    waiver of the attorney client and work product protection under Federal Rule of Evidence 502.
                                                                         9    According to Plaintiffs, they are therefore entitled to all other underlying facts that LG Chem
                                                                         10   assessed and considered before pleading guilty. Rule 502 applies to disclosures of information
United States District Court




                                                                         11   covered by attorney-client privilege and work product protection. It provides that a waiver of the
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                                                                         12   privilege or work product protection “extends to an undisclosed communication or information in a
                                                                         13   federal or state proceeding only if 1) the waiver is intentional; 2) the disclosed and undisclosed
                                                                         14   communications or information concern the same subject matter; and 3) they ought in fairness to be
                                                                         15   considered together.” Fed. R. Evid. 502(a). “The doctrine of waiver of the attorney-client privilege
                                                                         16   is rooted in notions of fundamental fairness: ‘to protect against the unfairness that would result from a
                                                                         17   privilege holder selectively disclosing privileged communications to an adversary, revealing those
                                                                         18   that support the cause while claiming the shelter of the privilege to avoid disclosing those that are less
                                                                         19   favorable.’” Century Aluminum Co. v. AGCS Marine Ins. Co., 285 F.R.D. 468, 471 (N.D. Cal. 2012)
                                                                         20   (citation omitted). The court finds that there has been no waiver of attorney-client privileged
                                                                         21   communications or work product protection here. The court has reviewed the documents LG Chem
                                                                         22   identified in its response. They appear to be internal LG Chem emails about pricing and contain
                                                                         23   factual information; none appear to contain or relay privileged communications or otherwise
                                                                         24   protected information. Similarly, LG Chem’s identification of Samsung SDI as “a likely co-
                                                                         25   conspirator” states a fact; it is not privileged information.
                                                                         26          Finally, the interrogatory asked LG Chem to “identify Persons with knowledge of Your Guilty
                                                                         27   Plea.” This portion of the interrogatory is overly broad, as it encompasses individuals who are
                                                                         28   irrelevant to this action, e.g., anyone who has seen a news report on the guilty plea or seen a court


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                                                                         1    docket entry regarding the plea. Therefore, LG Chem’s objection to this portion of the interrogatory
                                                                         2    is sustained.
                                                                         3                                               IV. Conclusion
                                                                         4           For the foregoing reasons, Plaintiffs’ motion to compel LG Chem to provide a further
                                                                         5    response to its interrogatory is granted in part and denied in part. LG Chem shall supplement its
                                                                         6    response in accordance with this order by no later than April 13, 2015.

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                                                                         8    Dated: March 17, 2015                                     TA




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                                                                                                                                    United States Magistrate Judge
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